              Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 1 of 6



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                           UNITED STATES DISTRICT COURT
 9                        WESTERN DISTRICT OF WASHINGTON
                                    AT TACOMA
10

11   In Re:                                 Case No.: 3:20-mc-05025

12   DMCA SUBPOENA TO CLOUDFLARE,           DECLARATION IN SUPPORT OF
     INC.,                                  REQUEST FOR DMCA SUBPOENA TO
13
                                            CLOUDFLARE, INC.
14              Service Provider.

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     DECLARATION IN SUPPORT OF                          FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                           1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 1                                  Tacoma, WA 98402
                                                      (253) 383-4500 - (253) 383-4501 (fax)
                 Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 2 of 6



 1          I, ANIS BABA, hereby declare as follows:

 2          1.      I am the Director of MG Premium Ltd (hereinafter, “MG”) and am authorized to

 3   act on its behalf. I have personal knowledge of the facts contained herein and, if called upon to

 4   do so, could and would testify competently thereto.

 5          2.      I submit this declaration in support of MG’s request for issuance of a Subpoena

 6   by the Clerk of this Court, pursuant to the Digital Millennium Copyright Act (“DMCA”), 17

 7   U.S.C. § 512(h) to Cloudflare, Inc. (“Cloudflare”), relating to the posting of MG’s copyrighted

 8   material on the domain, NETU.TV, a webpage hosted by Cloudflare.

 9          3.      I have personal knowledge of the copyrights owned by MG and the ongoing

10   infringements of those copyrights that occur on the internet. I also have personal knowledge of

11   the countless instances that MG’s copyrighted works have been posted without MG authorization

12   to NETU.TV.

13          4.      On July 28, 2020, authorized agent for MG Jason Tucker issued and served a

14   copyright infringement notification on Cloudflare’s DMCA Agent relating to posts on

15   NETU.TV. Pursuant to Section 512(c)(3)(A), the notification was properly signed by MG’s

16   agent, identified the copyrighted material being infringed, set forth a listing of the 4 URLs

17   containing posts of infringing material, confirmed that such use of MG’s copyrighted works was

18   not authorized by MG, and gave contact information such that the DMCA Agent could reach him

19   with questions. A true and correct copy of the July 28, 2020 notification is attached as Exhibit A.

20          5.      The purpose of the DMCA Subpoena is to obtain information sufficient to

21   identify alleged infringers who, without authorization from MG, posted material to the webpage

22   NETU.TV, which infringed copyrights held by MG. The information received as a result of the

23   Subpoena will only be used by MG to protect its rights under Title 17 of the United States Code.

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     DECLARATION IN SUPPORT OF                                        FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                         1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 2                                                Tacoma, WA 98402
                                                                    (253) 383-4500 - (253) 383-4501 (fax)
                 Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 3 of 6



 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          DATED this 5th            day of August, 2020, at Nicosia, Cyprus.

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                                            ANIS BABA
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     DECLARATION IN SUPPORT OF                                         FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                          1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 3                                                 Tacoma, WA 98402
                                                                     (253) 383-4500 - (253) 383-4501 (fax)
  Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 4 of 6




                     Exhibit A
Copies of Notifications Issued Pursuant to
         17 U.S.C. § 512(c)(3) to
      Registered DMCA Agent for
   Service Provider Cloudflare, Inc.
                   Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 5 of 6


Jason Tucker

From:                           Jason Tucker
Sent:                           Tuesday, July 28, 2020 1:49 PM
To:                             'abuse@netu.tv'
Subject:                        DMCA Takedown Notice for Copyright Infringement – MG – 4 Links



via Email:

RE: DMCA Takedown Notice for Copyright Infringement – MG – 4 Links

Dear Copyright Agent,

I, Jason Tucker, hereby declare under penalty of perjury under the laws of the United States of America that to
the best of my knowledge and belief the following is true and correct and I have the authority to act on behalf of
the owner of the copyrights involved.

I have a good faith belief that the use of materials identified below is not authorized by the Owner and therefore
infringes on its rights pursuant to Copyright Law. Pursuant to this notification, you should immediately take
steps to locate and remove and/or disable access to the content that is on your system.

If you are a service provider, you may otherwise be liable for copyright infringement if, upon obtaining
knowledge or awareness of infringing material being stored upon your network, you do not act expeditiously to
remove, or disable access to, the material.

My contact information is as follows:
MG Premium Ltd.
c/o: Battleship Stance, Inc. - Jason Tucker
Address:                                 , Phoenix, AZ 85016 USA
Email:

Location of original works owned by and registered to MG Premium Ltd: http://www.realitykings.com

This correspondence and all of its contents is without prejudice to MG Premium Ltd. or any of their affiliated
company's rights and remedies, all of which are expressly reserved.

Sincerely,

s/Jason Tucker

Jason Tucker
Agent for MG Premium Ltd.; MG Limited Cyprus; MG Content DP Ltd; MG Content RK Limited; MG
Freesites Ltd


Links to Infringing Material that we request be REMOVED:
http://netu.tv/watch_video.php?v=i9az2rKyGGyq
http://netu.tv/watch_video.php?v=hcGaUKCZ07f6
http://netu.tv/watch_video.php?v=Hbv7MY9at1YT
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                            Case 3:20-mc-05025 Document 1-1 Filed 08/05/20 Page 6 of 6
http://netu.tv/watch_video.php?v=YTJG51WHPKIe



Jason Tucker
+1
SKYPE:
Twitter:

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